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                    UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,

               Plaintiff,              No. 2:09-cr-00097 MCE
v.
                                       ORDER REGARDING SENTENCING
ERIC LOREN CLAWSON,                                   MEMORANDA
               Defendant.
___________________________/


     If any party wishes to file a sentencing memorandum in
advance of imposition of judgment and sentencing, said
memorandum shall be filed on or before 5:00 p.m., seven (7)
calendar days in advance of the date set for judgment and
sentencing. Any response thereto shall be filed on or
before 3:00 p.m., (3) calendar days in advance of the date
set for judgment and sentencing. The parties are cautioned
that if any sentencing memoranda is filed late, the judgment
and sentencing date may be vacated and the matter continued.
     IT IS SO ORDERED.




Dated: March 25, 2010


                                 _____________________________
                                 MORRISON C. ENGLAND, JR.
                                 UNITED STATES DISTRICT JUDGE
